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                           Case No. 5:16-cv-00629-F


                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF OKLAHOMA
________________________________________________________________________

CHRISTOPHER L. STIEBENS and         )
MARY E. STIEBENS.                   )
    Plaintiffs,                     )
                                    )
v.                                  )     CASE NO. 5:16-cv00629-F
                                    )
RESILITE SPORTS PRODUCTS,           )
INC. and LEON M. STAUFFER,          )
      Defendants.                   )


 PLAINTIFF’S OBJECTIONS TO AND MOTION TO EXCLUDE TESTIMONY OF
                DEFENDANTS’ DESIGNATED EXPERTS,
        DR. LISA GWIN, ENRIQUE BONUGLI & DR. CYNTHIA DAY


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August 1, 2018
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

CHRISTOPHER L. STIEBENS and    §
MARY E. STIEBENS,              §
           Plaintiffs,         §
                               §
vs.                            §                         CASE NO. 5:16-cv-00629-F
                               §
RESILITE SPORTS PRODUCTS, INC. §
and LEON M. STAUFFER,          §
           Defendants.         §

              PLAINTIFFS’ OBJECTIONS TO AND MOTION TO EXCLUDE
               TESTIMONY OF DEFENDANTS’ DESIGNATED EXPERTS,
               DR LISA GWIN, ENRIQUE BONUGLI & DR. CYNTHIA DAY


        COME NOW, Plaintiffs Christopher Stiebens and Mary Stiebens, and respectfully request

the Court to enter an Order prohibiting Defendants, Resilite Sports Products, Inc. and Leon

Stauffer, from soliciting testimony and opinions from Defendants’ designated expert witnesses-in-

chief: Dr. Lisa P. Gwin, Enrique Bonugli, Dr. Cynthia M. Day, all employees of the firm

Biodynamic Research Corporation (BRC). In support hereof, Plaintiffs submit the following:


                                           INTRODUCTION

        This lawsuit arises out of a chain-collision occurring on the Turner Turnpike near Stroud,

Oklahoma on June 19, 2014. Plaintiff Mary Stiebens was travelling eastbound in the inside lane

of I-44 in her 2011 Honda CRV, with her husband, Plaintiff Christopher Stiebens, sitting in the

front passenger seat. A vehicle driven by Chad Johnson was travelling in the inside lane of I-44

behind the Steibens’ vehicle. Directly behind Mr. Johnson, Defendant Stauffer was operating a

2009 Volvo tractor-trailer, owned by Defendant Resilite Sports Products, Inc. Plaintiffs, followed

by Mr. Johnson, slowed for congested traffic. Defendant Stauffer did not slow his tractor-trailer

and negligently struck Mr. Johnson’s vehicle from the rear, forcing Johnson’s vehicle into a rear-



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end collision with Plaintiffs’ vehicle. As a result of said collision, Plaintiffs suffered injuries and

harm for which they seek recovery.



                                         BRIEF IN SUPPORT

        In an attempt to disprove the medical causation of these injuries, Defendants intend to offer

the medical/biomechanical testimony of Dr. Lisa Gwin (Gwin) a former rural emergency physician

and former “test engineer/fuel systems development engineer” for Ford Motor Company; Dr.

Cynthia Day (Day), BRC’s radiology consultant, and Mr. Enrique Bonugli (Bonugli), put forth as

Defendants’ accident reconstructionist/biomechanical expert.          Gwin, Day, and Bonugli are

employed by Biodynamic Research Corporation (BRC).

        BRC is a Texas-based biomechanical and injury causation consulting firm that provides

testimony almost exclusively for insurance companies, auto manufacturers, and defense firms in

personal injury and product liability cases. BRC offers its services in the analysis of the human

body’s response to forces or other potentially harmful factors, in order to determine “if and/or how

an injury occurred.” (emphasis added). See, BRC website at www.brconline.com/services. BRC is

devoted neither to independent research, nor to independent scientific testing, but rather to

providing paid testimony for any defendant willing to pay their price. In fact, BRC experts have

frequently been struck by numerous courts under Daubert and its progeny, due not only to their

lack of qualifications and unreliability, but also their blatant and obvious bias. [See, Summary,

attached hereto as Exhibit 1].



                                 ARGUMENT AND AUTHORITIES

                                   ADMISSABILITY STANDARDS




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        Admission of expert testimony is governed by Federal Rule of Evidence 702, which

provides:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized knowledge will
               help the trier of fact to understand the evidence or to determine a fact in
               issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods; and
               (d) the expert has reliably applied the principles and methods to the facts of
               the case.

        Additionally, expert testimony must be both relevant and reliable to be admissible. Daubert

v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579, 589, 594-95 (1993). It is well established

that the role of the District Court is to act as “gatekeeper” to ensure that the proffered expert

testimony meets the necessary requirements. Daubert, 509 U.S. at 589. Daubert articulated a test

for admissibility of expert testimony that was designed to exclude junk science: In addition to

determining that the expert testimony is both “relevant” and “reliable,” the District Court must

determine that the expert is expressing more than a subjective belief or unsupported opinion, and

that the testimony has a “reliable basis in the knowledge and experience of his discipline,” Id. at

589-90, 592. This gatekeeping function has been expanded beyond “scientific” into all areas of

expert knowledge. Kumho Tire, Inc. v. Carmichael, 526 U.S. 137, 141 (1999) (expanding Daubert

to expert testimony based on “technical” and “other specialized knowledge”). The Court has

“broad latitude” in deciding how to determine reliability and is not required to strictly apply

Daubert’s list of specific factors. Kumho, 526 U.S. at 141-142.

        Federal Rule of Evidence 703 indicates that an expert witness may base an opinion on facts

or data of which he has been made aware or personally observed. (S)he may rely on facts or data

supplied him/her by another, only if “of a type reasonably relied upon by experts in the particular



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field.” (emphasis added). Daubert has left it to the Court to determine that the expert is expressing

more than a subjective belief or unsupported opinion. The data upon which such expert opinion is

rendered, must be relevant, reliable and reasonably relied upon. Under Daubert and its progeny,

in deciding whether an expert’s opinion is reliable, the Court need not concern itself with whether

the opinion is correct, but rather simply to determine whether the opinion rests upon a reliable

foundation, as opposed to unsupported speculation.

        Finally, the ‘touchstone’ of admissibility of expert testimony is its helpfulness to the trier

of fact. Wilson v. Muckala, 303 F.3d 1207, 1219 (10th Cir. 2002). See also, Werth v. Makita Elec.

Works, Ltd., 950 F.2d 643, 648 (10th Cir. 1991). Expert testimony is not meant to substitute the

role of a jury capable of understanding the evidence and having the ability to draw conclusions on

its own. See, Frase v. Henry, 444 F.2d 1228, 1231 (10th Cir. 1971)(“When the normal experiences

and qualifications of laymen jurors are sufficient for them to draw a proper conclusion from given

facts and circumstances, an expert witness is not necessary and is improper.”).



                          SUMMARY OF DEFENSE EXPERT OPINIONS

I.      LISA GWIN:

The defense has identified Lisa Gwin, D.O., B.S.E.E., an employee-owner of BRC, as their

medical/biomechanical expert. Gwin has been hired to testify regarding her opinions concerning

the “injury mechanisms and injury causation involved in this incident based upon a biomechanical

assessment of the incident scenario.” [Gwin Report, attached hereto as Exhibit 2, at 1]. Ultimately,

Gwin intends to testify that the “risk of injury at the delta-V the Stiebenses experienced was

negligible” and the “subject impact was minor, and would not be expected to cause any injury.”

[Exhibit 2, at 11 and 16]. She has, in essence, been hired to testify that the motor vehicle collision




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was so minor it would not have caused injury to either Chris or Mary Stiebens. At best, Gwin is

invading the province of the jury by substituting her subjective, biased interpretation of the

evidence for that of the jury and, at worst, practicing junk science to improperly influence the

outcome of this litigation. Furthermore, by the date of filing of this Motion, Defendants’ counsel

has failed to provide Plaintiffs with copies of the exhibits identified in Dr. Gwin’s Report and

upon which she bases her opinion testimony.

        A. GWIN IS NOT QUALIFIED TO RENDER THE OPINIONS SOUGHT
           BY THE DEFENSE.

        Lisa Gwin holds no degree or professional license in either mechanical or biomechanical

engineering. Gwin is currently on her fourth career in the thirty-one years since her undergraduate

graduation. Gwin earned a B.S. in electrical engineering, not mechanical engineering in 1987 and

went to work for Ford Motor Company for six years as a “test engineer” and “fuel systems

development engineer,” never completing the requirements for professional licensure in any area

of engineering. In 1995, Gwin earned a B.S. in Nursing and worked as an emergency nurse for

seven years in several rural emergency rooms in Arizona. After her short nursing career, Gwin

enrolled in a new medical school (unaccredited from 1995-2000), completing her medical degree

in 2003. Gwin then completed her residency in emergency medicine and worked for the next

several years as a locum tenens (“temp”) emergency physician in mostly small, rural or Indian

Health Service facilities and was employed as an emergency physician in a small Wyoming

hospital from 2006-2012. It was not until 2012 that Gwin self-determined that she would be a

“biomechanical expert.” [Gwin c.v., attached hereto as Exhibit 3]. From this point forward, Gwin

and her employer, BRC, have touted her expertise in the field of biomechanics, despite her clear

lack of any expertise in either engineering or biomechanical engineering.




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                 1) Gwin’s “engineering” and/or “biomechanical” opinions:

           According to BRC’s own website, “Biomechanics (or biomechanical engineering) is the

application of physics and mechanical engineering to the human body.” (emphasis added). See,

BRC website at www.brconline.com/services. In other words, the study of the effects of forces

and accelerations on the human body. A medical/biomechanical analysis of the type Dr. Gwin has

been hired to provide actually involves a combination of evaluations performed in several

scientific disciplines including accident reconstruction, vehicle dynamics and occupant

kinematics, biomechanics, and medical analysis. Gwin, however, is not a licensed Professional

Engineer, mechanical engineer, or biomechanical engineer, yet she attempts to use the fields of

engineering and biomechanical engineering, to perform tests and analyses, including exemplar

surrogate demonstrations and occupant kinematics, to determine the likelihood of injury in a crash

similar to the subject incident. [Exhibit 2, at 6-7].

           The fact that a witness holds a bachelor’s degree in engineering does not make that person

an “engineer” under Oklahoma law. In fact, Title 59 of the Oklahoma Statutes requires a person

to be a licensed engineer in order to perform any type of engineering work, including offering

expert opinion testimony. (emphasis added).1

           Gwin has apparently learned from those BRC experts who have been stricken by courts

before her, to carefully refrain from holding herself out as an engineer, and only certifies her



             1 59 O.S. §10-475.1 (It shall be unlawful to practice or offer to practice engineering or land surveying in this state…that any person is

an engineer, professional engineer, professional structural engineer, land surveyor or professional land surveyor, unless such person has been duly
licensed or authorized under the provisions of Section 475.1 et seq. of this title..) [emphasis added]; 59 O.S. §10-475.2 (“Engineer” means a person
who, by reason of special knowledge and use of the mathematical, physical and engineering sciences and the principles and methods of engineering
analysis and design, acquired by engineering education and engineering experience, is qualified, after meeting the requirements of Section 475.1
et seq. of this title and the regulations issued by the Board pursuant thereto, to engage in the practice of engineering) [emphasis added]; 59 O.S.
§10-475.2(5) (“Practice of engineering” includes “engineering reports or like material developed in connection with expert witness testimony or
anticipated testimony…” Further, “a person or entity shall be construed to practice or offer to practice engineering, within the meaning and
intent of Section 475.1 et seq. of this title who does any of the following: practices any branch of the profession of engineering; by verbal claim,
sign, advertisement, letterhead, card or any other way represents such person as a professional engineer or through the use of some other title
implies that any person is a professional engineer or is licensed or qualified under Section 475.1 et seq. of this title; or who represents
qualifications or ability to perform or does practice engineering”[emphasis added].




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medical/biomechanical report to a reasonable degree of medical and “scientific” certainty.

However, vaguely cloaking biomechanical opinions as “scientific” rather than “engineering”

testimony, does not make it any less so. Dr. Gwin performs tests and calculations and offers her

opinions as a biomechanical engineer, which she most certainly is not.

        Accordingly, Gwin, with a B.S.E.E. degree, who does not possess the mandatory

requirements for professional licensure, is not qualified to testify in this matter as an expert in any

branch of the profession of engineering, including biomechanics/biomechanical engineering.

Thus, any opinion rooted in any aspect of engineering or biomechanical engineering should be

excluded.

            2) Gwin’s medical opinions:

        Gwin is qualified to testify as a medical doctor, but to only a certain point. She is not a

physician who specializes in spinal injuries, the Stiebens’ chief injuries, and thus she is not

qualified to testify about such matters. Mere experience as a physician does not automatically

cloak said person with expert status. In fact, Gwin is board-certified in emergency medicine alone.

[Exhibit 3, at 3]. Gwin is not and has never been board-certified as a radiologist, neurologist,

neuroradiologist, or orthopedic surgeon, or in any other medical specialty relevant to this matter.

[Id.]. Gwin has spent her medical career in emergency rooms: first as an emergency nurse, and

later as an emergency physician for several years, where she undoubtedly crossed paths with

patients suffering from a variety of acute, traumatic injuries. However, Gwin’s experience in

countless rural hospitals does not automatically convey expertise in either biomechanics or

orthopedics, or any medical specialty relevant to this matter.

        Gwin is not a radiologist, orthopedic spine surgeon, neurologist, or neurosurgeon yet, with

only partial medical records and deposition transcripts, she doubts Chris Stiebens’ neck and back




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injuries, decides that her tests and calculations show he would not have been injured, and implies

his subsequent spinal surgeries were wholly unnecessary. [Exhibit 2, at 7]. She adopts and

regurgitates Day’s interpretation that Chris Stiebens’ imaging reports fail to demonstrate any acute,

traumatic injury as a result of this accident. [Exhibit 2, at 6].

        Without benefit of Mary Stiebens’ imaging reports, Gwin summarily concludes Mary also

wouldn’t have been injured in the wreck because “net spinal motion was within physiologic limits”

and “no evidence of acute injury was demonstrated in their medical records, including imaging

studies.” [Exhibit 2, at 7].

        Courts have uniformly held that Rule 702 and Daubert require that the area of the witnesses

competence match the subject matter of the witnesses testimony.           A court should exclude the

testimony of an expert witness who is not qualified to testify in a particular field. Because of the

increasing specialization of medicine, there is no validity, if there ever was, to the notion that every

licensed medical doctor should be automatically qualified to testify as an expert on every medical

question. See, O’Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1390 (C.D. Ill. 1992),

aff’d, 13 F.3d 1090 (7th Cir. 1994). The proponent still has the burden to show that the expert

possesses special knowledge as to the very matter on which he proposes to give an opinion. Thus

a witness’ knowledge, skill, experience, training, or education must be separately examined in the

light of the precise opinion in question. See also, Richmond Steel Inc. v. Puerto Rican Am. Ins.

Co., 954 F.2d 19, 22(1st Cir. 1992)( finding no error in excluding testimony of CPA who had not

dealt with a similar sized business in the past 10 years). Accordingly, a court must not examine

the "qualifications of a witness in the abstract, but [must, instead, look at] whether those

qualifications provide a foundation for a witness to answer a specific question. The trial court must

determine whether the expert's training and qualifications relate to the subject matter of his




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proposed testimony." Smelser v. Norfolk S. Ry. Co., 105 F.3d 299, 303 (6th Cir. 1997)(excluding

Biomechanical Engineer expert).

        In Alexander v. Smith & Nephew, P.L.C., 98 F. Supp.2d 1310, 1315-16 (N.D. Okla. 2000),

the plaintiff brought a products liability suit against the manufacturer of a spinal rod system for

back injuries sustained from the rod. The court held that the plaintiff’s medical expert was not

qualified under Daubert. Alexander, 98 F.Supp.2d at 1314-15. The Court held that simply because

the expert had a medical degree did not give him a license to testify about the cause of the plaintiff’s

injury. Id. at 1315. Because the witness lacked expertise in orthopedics, spinal surgery, and other

areas related to the specialized opinions he offered, the court concluded that he was not “qualified

as an expert by knowledge, skill, experience, training or education” and refused to allow him to

testify as to the cause of plaintiffs injuries. Id. at 1315-16. See also, Ralston v. Smith & Nephew

Richards, Inc., 275 F.3d 965, 969-70 (10th Cir. 2001) (trial court properly excluded orthopedic

surgeon’s opinion where surgeon admitted she was not an expert on intramedullary nailing but an

expert in oncology); Alfred v. Caterpillar, Inc., 262 F.3d 1083, 1088-89 (10th Cir. 2001)(trial court

properly excluded mechanical engineer’s opinion testimony where he tried to testify about human

factors). The Court should exclude Gwin for the same reasons: she is not a qualified expert in the

area of medicine relevant to this case.

        Given the fact that the defense has identified Gwin as being a “medical/biomechanical

expert”, it is unclear just exactly what type of expertise she could possibly provide to the trier of

fact.   Due to her lack of qualification in engineering, biomechanical engineering, and the

specialized area of spinal injuries, the court should look very closely at the opinions that Gwin

seeks to submit in the context of what she is qualified to do, especially when these opinions are

based on the inaccurate conclusions of Bonugli.




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          Defendants may attempt to salvage this problem by reminding the Court that Gwin is, in

fact, a medical doctor and therefore can testify as to her medical opinion. However, as stated

above, the mere conferral of a medical degree does not an “expert” in all areas of medicine make.

Gwin is not qualified to testify about spinal injuries: She was an unlicensed test engineer/fuel

systems development engineer for Ford for a few years; she was an emergency physician for a

number of years; and now, in addition to her work as a biomechanical consultant and recent hire

at a new Texas medical school with only provisional accreditation, she volunteers as a primary

care physician in a small Wyoming healthcare clinic. Lisa Gwin possesses no expert qualifications

in either of the fields in which she proposes to testify.

          B. GWIN’S OPINIONS ARE SPECULATIVE AND UNRELIABLE.

          Procedurally, Daubert requires a "preliminary assessment of whether the reasoning or

methodology underlying the testimony is scientifically valid and of whether that reasoning or

methodology properly can be applied to the facts in issue." Daubert, 509 U.S. at 592-93. The

witness’ assurance that he has employed generally accepted methodology in reaching his

conclusions is insufficient. Moore v. Ashland Chemical, Inc., 151 F.3d 269, 276 (5th Cir. 1998).

An expert’s opinion is considered unreliable if it is based upon mere subjective belief or

unsupported speculation. Goebel v. Denver & Rio Grande Western R.R. Co., 346 F.3d 987,992

(10th Cir.2003) (quoting Daubert). Educated guesses will not satisfy FRE 702. Mitchell v.

Gencorp Inc., 165 F.3d 778, 781 (10th Cir.1999). "[A]n expert's conclusions are not immune from

scrutiny … [and the] ‘court may conclude that there is simply too great an analytical gap

between the data and the opinion proffered.’” Dodge v. Cotter, 328 F.3d 1212,1222 (10th Cir.

2003) (quoting Gen. Electric Co. v. Joiner, 522 U.S. 136, 146, 146 L.Ed.2d 508, 118 S.Ct. 512

(1997).




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        Assuming, arguendo, that Gwin is qualified to testify as to her opinions: the facts, data,

principles and methods used to form the basis of her opinions are speculative, unreliable, and lack

the adequate factual basis that is required to form a scientifically valid opinion. Gwin’s opinion is

based on the premise that a certain speed at impact (or “delta-v”) will not result in injuries to a

vehicle occupant’s spine. As set forth below, this is factually incorrect and misleading. The very

foundation of Gwin’s “scientific” conclusion is faulty and based upon guesswork and unsupported

speculation. Because Gwin’s analysis is not grounded in reliable and accurate facts, or sound

scientific methodology, her opinion testimony ought to be excluded.

            1). Gwin’s “engineering” and/or “biomechanic” opinions:

        Dr. Gwin indicated she predicated her biomechanic analysis on the impact analysis of Mr.

Bonugli, discussed in detail below. [Exhibit 2, at 6]. “Since [Bonugli’s] analysis is fundamentally

flawed, any opinions based on it would be similarly flawed.” [Affidavit of John J. Smith, P.E.,

attached hereto as Exhibit 4, at 5]. Additionally, in order to bolster her opinions, Gwin performed

what she calls an “exemplar surrogate demonstration” and which she claims was based on a

“closely matched exemplar vehicle and human surrogates matched to Mr. and Mrs. Stiebens for

standing stature and weight.” After giving what appear to be engineering and/or biomechanic

opinions that Gwin is not competent to render and are not based on a reasonable degree of

engineering or scientific certainty, she then opines that the “subject impact was minor, and would

not be expected to cause any injury” to either Plaintiff. [Exhibit 2, at 16].         This opinion is

biomechanical in nature.

        Biomechanics generally refers to the study of the action of external and internal forces on

the living body. Tuato v. Brown, 85 Fed. Appx. 674, (10th Cir. 2003); Dreyer v. Ryder

Automotive     Carrier     Group,     Inc.,   367    F.   Supp.   2d   413,   426   n.16   (W.D.N.Y.




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2005) (acknowledging expert's definition of "biomechanics" as the "study of the interface between

humans and machines and includes ergonomics."). As one court aptly explained:

        At trial, biomechanics was defined as "a marriage between medicine
        and engineering" in that injury is a purely mechanical process up to the instant that
        it occurs. Once an injury occurs, then it is purely medical. The understanding of
        how forces act on the human body in order to create injury is mechanical as the
        injury is the result of a greater force being applied to the body than it was designed
        to withstand.

 Guentzel v. Toyota Motor Corp., 768 S.W.2d 890, 895 (Tex. Ct. App. 1989),writ denied (Sept.

 13, 1989) (abrogated on other grounds by E.I. du Pont de Nemours & Co., Inc. v. Robinson, 923

 S.W.2d 549 (Tex. 1995).

         Gwin seeks to render a biomechanical opinion despite the fact that she is not a

 biomechanical engineer and despite the lack of critical key data necessary to a competent and

 reliable analysis. In fact, Gwin arrives at her conclusion without ever going to the scene of the

 wreck, taking any measurements whatsoever, examining the vehicles, measuring the seat back

 position or incline, measuring the position of the headrest or the occupant spaces, without

 inspecting the interior for anything to indicate places where the Stiebens’ bodies may impacted

 parts of the interior, and without taking the occupants’ resilience, constitution or predisposition

 to injury into consideration. Consequently, Gwin’s exemplar surrogate demonstration, as well as

 the resultant biomechanical opinion, is fundamentally flawed, as detailed in the Affidavit of John

 J. Smith, P.E. [Exhibit 4]:

         1.      Gwin used surrogates that cannot be shown to replicate the actual position of the
              parties in the collision. [Exhibit 4, at 5].

         2.       In direct contradiction to the laws of physics, Dr. Gwin compared a traumatic event
              to grossly dissimilar daily activities. This error has been explained to her firm dozens
              of times…Such a comparison is not supported by the basic principles of math and
              science. [Id., at 5]. If Dr. Gwin wanted to demonstrate the subject collision was
              equivalent to a daily activity, it would be necessary to show that for both cases all



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              accelerations are the same, in the location applied, duration, sequence and initial
              position of the person. This assumes that the test subjects are identical to the crash
              victims in terms of age, gender, height, weight, resilience, constitution, and
              predisposition to injury.
                    Since Dr. Gwin lacked the ability to determine any of the forces on the occupants,
              it is impossible for her to demonstrate that the events are the same. [Id., at 6].
                  Additionally, even the peak acceleration on the occupants cannot be determined….
              peak acceleration represents only one of the hundreds of forces the occupant was
              subjected to... However, the use of peak acceleration values is not based on any
              accepted engineering or scientific principle. If Dr. Gwin understood the relevant full
              scale testing she would be aware that the peak acceleration applies to only one of the
              myriad of forces the occupants were subjected to. Data from Dr. Gwin’s own firm
              reveal[s] how the peak acceleration is only a minor factor in the event. [Id., at 6-7].


         3.      Dr. Gwin cites to an inappropriate study to imply the risk of injury was low. Dr.
              Gwin has not referenced the data appropriately to take into account initial complaints
              versus actual diagnosis. Using her approach, the reader is led to believe it is impossible
              for the occupants to have been injured. Since this is factually incorrect, it is clear the
              data is being misapplied. [Id., at 8].


         4.       Dr. Gwin cited to staged, safety optimized, motion studies using volunteers. This
              is invalid. The discussion of crash tests is specious. The occupant’s injuries cannot
              be equated to injuries sustained by crash test volunteers for numerous reasons. In
              crash tests, safety is optimized. Often the volunteer is a healthy young male.
              Sometimes special seat belts are used. Bite blocks are employed to prevent injury to
              the teeth and jaw. The test subject is aware that the crash is about to take place. The
              test subject is positioned to receive the forces of the crash. The subject is looking
              straight ahead and sitting upright. In the few cases where a crash subject had their head
              turned, the injuries suffered were significantly worse. The sample size in crash tests
              is quite small. These tests are fairly expensive, therefore the number of vehicles
              employed and the number of test subjects used are limited.
                  Dr. Gwin did not mention that none of the tests matched the subject collision. These
              full-scale tests also reveal that Mr. Bonugli’s methodology must be wrong since the
              energy values in collisions with no damage greatly exceed the value he determined with
              damage.
                  Dr. Gwin cited to her own firm and Szabo for the volunteer tests. If she were to
              review the full scale video testing from her firm or Szabo, it would be obvious the
              comparison to daily activities is invalid. [Id., at 8-9].


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         5.      Dr. Gwin’s discussion of traumatic brain injury is similarly flawed. Brain injuries
              are associated with five mechanisms in rear impacts. The first is direct contact with
              the headrest, the steering wheel or other portions of the interior of the vehicle. (The
              occupant may not remember this contact.) The second mechanism involves
              centripetal forces applied during the extension/flexion process. The third involves
              shearing forces applied during the translation of the skull. The fourth identified
              mechanism deals with biochemical changes. The final mechanism is associated with
              vascular effects.i,ii,iii,iv,v,vi,vii,viii,ix,x,xi,xii,xiii,xiv
                 For her concussion risk Dr. Gwin relies on data from her firm and an associated
              organization. [Id., at 9].


         6.       Dr. Gwin lacked the ability to determine a single force, load or moment on the
              occupants but still implied they were not injured. Her reliance on injury assessment
              reference values (IARV) has not been validated for actual collisions. The test data she
              cites is not appropriate for a motor vehicle collision. [Id.]


         7.      Dr. Gwin appears to have misapplied her references. As only one example, her
              reference to Adams is grossly misleading. The references to the work by Michael
              Adams regarding disc herniation demonstrate that Dr. Gwin has not applied the
              principles of trauma biomechanics…. If Dr. Gwin has a rudimentary understanding of
              trauma biomechanics she is well aware that the [Adams] study does not even remotely
              replicate the subject collision. [Id., at 9-10].

         8.       Dr. Gwin ignored the fact that it has never been established that there is a minimum
              speed change value below which people are not injured in real collisions. This applies
              to all types of collisions including frontal impacts, rear impacts, side impacts and
              rollovers. [Id., at 10].

         9.      Dr. Gwin ignored the fact that the test data cited by Mr. Bonugli establishes that
              there were force, loads and moments applied at the location of the diagnose injuries.
              [Id.].


         Dr. Gwin speculates, theorizes, makes assumptions, and fills in the missing pieces in order

 to support her desired conclusion, while in actuality her opinion is based on the results of her own

 flawed and dissimilar “exemplar surrogate demonstration” and serious analytical errors. It is clear



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 that Gwin’s biomechanical opinions and all of her opinions that are biomechanical in nature

 should be excluded.

                2). Gwin’s medical opinions:

        Gwin did not review any of Mary Stiebens’ radiological imaging but states that she has

taken her films into consideration in her causal analysis. [Exhibit 2, at 16]. Gwin actually did

review some imaging for Chris Stiebens. Gwin concurs, based on a review of select films with

radiologist Dr. Cynthia Day, that both Chris and Mary Stiebens suffered prior degenerative disc

disease and no acute, traumatic injury from the wreck at issue, concluding that neither were injured

in the collision at all. [Id., at 16]. Yet, Gwin is not a radiologist. She has no expertise in reading

and interpreting imaging studies. Her opinion provides no reference to an accepted methodology

that establishes the ability to diagnose defects seen on imaging studies. Gwin examined select,

admittedly poor-quality, radiological images of Chris Stiebens and determines that neither Plaintiff

suffered acute, traumatic injury in the 2014 collision at all and, in fact, “the event was not

reasonably capable of producing the effect of degenerative changes in Mr. and Mrs. Stiebens’

spinal discs, as these were the result of repetitive stress over a period of years.”(emphasis added).

[Id.]. Gwin then concludes that degenerative disc disease must account for Chris’ complaints of

back and neck pain, and Mary’s neck problems, following the accident, asserting “Mr. and Mrs.

Stiebens’ imaging studies demonstrated degenerative changes in their spines. Those changes are

the result of repetitive stress over a period of years ,and are not the result of any one time

event.”(emphasis added). [Id.]. She does so without any expertise in radiology, orthopedics, or

neurosurgery, without examining Chris or Mary Stiebens, and without considering occupant

resilience, constitution or predisposition to injury, or complete medical histories. Gwin’s proposed

testimony and conclusions as to medical causation are unreliable, incomplete, flawed, and




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misleading and do not meet the Daubert standard for admissibility. Since Gwin is not a doctor that

specializes in spinal injuries, neurology, or even radiology, any opinion she puts forth about such

issues should be excluded.

        Gwin further opines, now relying on Bonugli’s flawed speed and force calculations of

Johnson’s vehicle as it collided with Plaintiffs’ car, that the Stiebens would not have injured their

spines in this accident. [Id.]. Gwin points to Day’s assessment of the select radiological films and

her interpretation that Chris Stiebens suffered no acute, traumatic injuries in this wreck, as

confirmation of her causation analysis. Gwin decides, based on a perfect storm of flawed analyses,

that her vehicle dynamics and occupant kinematics studies reveals the Stiebens’ “net spinal motion

was within physiologic limits,” and stating “there was no mechanism for them to be injured in an

event with similar accelerations,” implying there could be no injury from this incident. Dr. Gwin

embraces the position that, because she believes that the injury was highly unlikely at the force

Mr. Bonugli calculated, it did not occur. Dr. Gwin cannot rewrite reality by simply stating that a

rare occurrence is an impossible one. Yet, essentially Gwin’s medical conclusion is a result of the

combination of the results of her own flawed exemplar demonstration, Bonugli’s flawed impact

analysis, and Day’s “limited use” assessment of select radiological imaging. For the reasons set

forth above, Gwin is not qualified by training or experience to render such an opinion and, further,

the opinion is both speculative and unreliable. This further illuminates the fact that any opinion

Gwin puts forth about such issues should be excluded.

        C. GWIN’S OPINION REGARDING MEDICAL IMAGING IS CUMULATIVE.

        Gwin’s opinion regarding the medical imaging is also cumulative. As stated above, Gwin

is not a radiologist. Therefore, her opinion from reviewing select imaging records is nothing more

than a regurgitation of information that is really properly presented by a radiologist. The defense




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has hired a board-certified radiologist and an I.M.E. who will opine about the meaning of these

studies. Therefore, Gwin’s opinion regarding the same provides nothing more than what the

radiologist and/or I.M.E. will provide and should be excluded as being cumulative.



II.     CYNTHIA DAY:

        A. DR. DAY’S OPINION REGARDING MEDICAL IMAGING IS CUMULATIVE.

        Day’s opinion testimony regarding her interpretation of Chris Stiebens’ radiological

imaging is also cumulative. The defense has hired an I.M.E., Dr. Stephen Conner, who will opine

about the meaning of these studies. Therefore, Day’s opinion regarding the same provides nothing

more than what Dr. Conner will provide and should be excluded as being cumulative.

        B. DAY IS NOT QUALIFIED TO RENDER THE OPINIONS SOUGHT
           BY THE DEFENSE.

        Like Gwin, Cynthia Day is an employee of BRC and their only expert in the field of

radiology. Day was hired by the defense to review and re-interpret Chris Stiebens’ radiological

studies alone -- in a vacuum and without any other medical records or history -- and find he

suffered no acute, traumatic injury from the subject incident. While her qualifications as a board-

certified radiologist appear at first glance to qualify her as an expert to re-intepret or second-guess

Chris Stieben’s radiological studies, Dr. Day is not certified as a neuroradiologist and, as discussed

above, specialization and practice in one area of medicine does not automatically cloak the

practitioner with expertise in other or all areas of medicine. [Day c.v. & ABMS certification,

attached hereto as Exhibit 5]. According to the American Board of Radiology, of which Dr. Day

is a member, physicians practicing in the field of radiology specialize in Diagnostic Radiology,

Interventional Radiology, or Radiation Oncology. They may also certify, with additional education

and practical training, in a number of subspecialties, including Neuroradiology. See, ABMS at



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https://www.abms.org/member-boards/contact-an-abms-member-board/american-board-of-

radiology/. Dr. Day has not completed the additional two years of training required to hold

certification in the field of neuroradiology, which is the precise area of expertise necessary to fully

evaluate this case.

        Neuroradiology involves the diagnosis and treatment of disorders of the brain, spine,

sinuses, spinal cord, neck and central nervous system. Imaging commonly used includes

myelography, interventional techniques, and magnetic resonance imaging (MRI). See, ABMS at

https://www.abms.org/member-boards/contact-an-abms-member-board/american-board-of-

radiology/. Advanced neuroradiological studies enable the reader to see more detailed information

regarding bones, organs and soft tissue, as compared to the relatively quick X-ray capture of a

single image, however, aside from a few initial chiropractor X-rays and a set of X-rays taken by a

radiologist in the emergency room after the accident, Chris Stiebens’ imaging films are

predominately neuroradiological images, requiring competent interpretation and diagnosis by a

certified neuroradiologist.

        Defendants’ counsel may try to counter this position by pointing to the fact that Dr. Day

completed a 2016 three-day course in neuroradiology and holds a Certificate (of Completion) in

Neuroradiology. [Exhibit 5, at 1]. In fact, the requirements for the completion certificate were

merely to attend the course and interpret a minimum of 100 cases, a far cry from the two-year

requirement necessary to hold oneself out as a specialist in neuroradiology. [2016 course brochure,

attached hereto as Exhibit 6].

        A court should exclude the testimony of any expert witness who is not qualified to testify

in a particular field. Cynthia Day, while no doubt a highly-trained radiologist, is not a




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neuroradiologist and her opinions regarding Chris Stiebens’ neuroradiological studies should be

excluded.

        C. DAY’S OPINIONS ARE SPECULATIVE AND UNRELIABLE.

        Notwithstanding her lack of qualification in the specialty of neuroradiology, Day’s

opinions are not reliable for several reasons. Day’s Imaging Report, in reference to the X-ray

images she reviewed, and upon which Lisa Gwin hangs her hat, states that the “[i]mages are

digitized copies of hanging films, therefore evaluation is somewhat limited” and, in another

instance, that the “frontal view is underexposed, also limiting evaluation.” (emphasis added). Yet

Day presses forward and uses these images as the foundation for her analysis. [Day Report,

attached hereto as Exhibit 7, at 1-3]. Additionally, Day did not examine Christopher Stiebens and

was not provided with copies of his medical records or medical history in order to completely and

accurately interpret the imaging studies. Obviously, a diagnostic radiologist is simply not in the

same, hands-on position as a neurosurgeon in treating patients, significantly increasing the risk of

misinterpretation or interpretation made in a vacuum of information. Finally, Day reviewed several

additional MRI reports conducted for Chris Stiebens’ neurosurgeon, yet neglected to mention these

in her Report. They are listed in the documents she was provided by Defendants’ counsel, yet,

curiously, they are never mentioned again.

        Differential diagnosis, or differential etiology, is a standard scientific technique. However,

to be reliable, it is performed after a physical examination, the taking of medical histories, and the

review of clinical tests and laboratory tests which Day did not do in this case. It is generally

accomplished by determining all possible causes for a patient’s symptoms and then eliminating

potential causes until discovering what cannot be ruled out or which is deemed most likely.

Westberry v. Gislaved Gummi AB, 178 F.3d 257, 262 (4th Cir. 1999). An unreliable differential




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diagnosis does not pass Daubert scrutiny. Id. at 265-66. For example, in determining whether an

expert orthopedic surgeon's testimony was admissible, the United States District Court for the

District of Utah noted, under the heightened requirements of Daubert, "[n]o expert orthopedic

surgeon would attempt to make a diagnosis without examining the patient, without considering the

entirety of a patient's records, by allowing a non-doctor to select records before she considered

them, or by allowing non-medical personnel to conduct patient interviews used for diagnostic

purposes." McCollin v. Synthes Inc., 50 F. Supp. 2d 1119, 1127 (D. Utah). The Court held that the

expert orthopedist's testimony was unreliable and would not be permitted at trial under the standard

set forth in Daubert and Kumho. Id.

        Testimony regarding the review and interpretation of radiological imaging, so critical in

this case, should be held to no less stringent a standard. Dr. Day formed her opinion in a vacuum

of information, with nothing other than a few poor X-rays and select MRI images, and, not

surprisingly, finds multilevel degenerative changes in the spine of this formerly active, 45-year-

old man, but no evidence of acute, traumatic injury as a result of this car wreck. [Exhibit 7, at 4].

The testimony is unreliable and speculative and should be excluded.



    D. ENRIQUE BONUGLI:

        A. BONUGLI IS NOT QUALIFIED TO RENDER THE OPINIONS
           SOUGHT BY THE DEFENSE.

        Enrique Bonugli, an employee and former student intern at BRC, has been designated as

an accident reconstructionist/biomechanics expert for the defense. Bonugli began his engineering

career as an intern at BRC in 2002, returning and advancing to the position of “test engineer” upon

completion of a Bachelor of Science in Industrial Engineering in 2003. By the time he enrolled in

a master’s program at the University of Texas- San Antonio, Bonugli had advanced to the lofty



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position of “senior test engineer” at BRC. Unlike most of BRC consultants held out as

biomechanical experts, Bonguli actually earned a Master’s of Science in Biomechanical

Engineering in 2015, as well as promotion to the position of Technical Director. [Bonugli c.v.,

attached hereto as Exhibit 8, at 1-3]. However, although his educational background suggests an

expertise in biomechanics, Mr. Bonugli is not a Professional Engineer and does not hold the

professional license necessary to proffer an expert engineering opinion. Accordingly, Bonugli is

not qualified to testify in this matter as an expert in any branch of the profession of engineering,

including biomechanics/biomechanical engineering. Thus, any opinion rooted in any aspect of

engineering should be excluded.

        It appears that BRC has learned, likely from the court’s frequent exclusion of their “expert”

testimony, to drop the term “engineer” and/or “engineering” from their job titles and expert reports.

Refraining from certifying his accident reconstruction/biomechanical report to a reasonable degree

of “engineering” certainty, as Bonugli does here, doesn’t change the fact that his opinions and

testimony remain rooted in the discipline of engineering and must be excluded. Bonugli is invading

the province of the jury by substituting his subjective, biased interpretation of the evidence for that

of the jury and practicing junk science to improperly influence the outcome of this litigation.

        B. BONUGLI’S OPINIONS ARE SPECULATIVE AND UNRELIABLE.

        Bonugli’s proposed testimony does not meet the threshold for admission pursuant to

current law, as his opinions and conclusions are speculative, based on facts not in evidence, and

on data summarily provided by Defendant and accepted without question by Bonugli in rendering

his opinions. Curiously, although he is unqualified to testify as to causation, Bonugli was provided

copies of the Stiebens’ medical records, but generally appears to have based his “reconstruction”

and impact analysis on the official Oklahoma Traffic Collision Report, 2-D post-incident




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photographs of and repair estimates for two of the three vehicles involved, and a self-developed or

BRC developed “damage-based crash simulation.” [Exhibit 8, at 6].

        The basic requirements for ACTAR accreditation include sitting for a two-part exam after

providing proof of completion of several approved accident reconstruction courses. The test is

comprised of 75 “theory” questions on topics such as scene examination, scene measurements, tire

mark evaluation, tire evidence and vehicle evidence. The second part of the examination is a

practicum involving completion of an accident reconstruction analysis based on data provided by

ACTAR. See, ACTAR website at https://actar.org/accreditation/exam. At the time of his

accreditation in 2009, Bonugli had completed a total of three reconstruction courses, although he

completed several more reconstruction-related courses in the following years. Yet, despite his

education in the area of accident reconstruction, Bonugli based this particular reconstruction

analysis on 2-D photos, speculation, and faulty assumptions to fill in critical missing data. In short,

one of the many problems with Bonugli’s opinion testimony is that it fails to provide a “reliable”

methodology as guidance for the Court. Bonugli did not investigate this accident. Bonguli did not

go to the site of the collision. Bonugi did not take any photographs or measurements whatsoever.

Bonugli did not shoot coordinates, determine the line of site, or the coefficient of friction. Bonugli

did not meet or even speak with the Trooper. All of this is normal and acceptable methodology for

accident reconstruction and Bonugli ignored it all. Worse, he filled in the huge gaps produced by

the lack of data he was provided by Defendants’ counsel with faulty assumptions and speculation.

He failed to consider Defendants’ Volvo tractor-trailer at all, other than to mention that the damage

to the fully loaded tractor-trailer was not visible in the single photo he was provided: he simply

“back-tracked” his mathematical calculations until he came up with a closing velocity to match his




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intended delta-v calculation. [Bonugli Report, attached hereto as Exhibit 9, at 7]. Further, as

attested in the Affidavit of John J. Smith, P.E.,

        1.     There appears to be far too much damage to account for the low speeds reported by
             Mr. Bonugli. [Exhibit 4, at 5].

        2.      Mr. Bonugli did not use a valid methodology to determine the speeds involved in
             the collision, making at least two fundamental errors. [Id., at 2].

Daubert demands that if a defense expert performs a test, it must be done properly and generate

reliable opinions. BRC’s testing fails on this point.

             a) He did not use a valid method to determine the energy associated with the damage
             to the vehicles. In using momentum, energy, restitution model as he reported, if the
             energy is not correct, the methodology will fail…. The methodology Mr. Bonugli used
             does not return valid results. Mr. Bonugli noted he used NHTSA test 2968. However,
             there were at least 5 other NHTSA test he could have used. Had Mr. Bonugli used all
             of the available test, he would have realized his approach was scientifically unsound…
             If extremely small variations in impact conditions can cause drastically different
             results, the methodology is not valid… For this reason, Mr. Bonugli’s speed
             determinations cannot be relied upon.
                Mr. Bonugli attempted to validate his results using a methodology invented by his
             firm that is not valid. Based on their unique methodology, Mr. Bonugli reported the
             impact speed of the Saturn into the Honda was approximately 3 to 5 m.p.h. The two
             mythologies returned results with variations of 22% to over 100%. [Id.].


             b) Mr. Bonugli also turned the collision into an underride which is was not. The
             estimates for both vehicles include damage to the bumper systems. Mr. Bonugli’s
             approach appears to ignore the additional damage reported. [Id.].


        3.      Mr. Bonugli reported a single value for the acceleration on the Honda of less than
             2.4 Gs based on assumptions. However, even if correct it would be irrelevant since the
             acceleration on the vehicle does not represent what is happening to the occupant….
             Clearly, attempting to describe an event that occurs in four dimension with one partial
             value for an event is not valid. This approach was invented by the defense for litigation
             and is not based on any accepted science or engineering. [Id.].




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        4.      In the course of reviewing numerous reports from BRC over the last years a pattern
             has emerged that regardless of the damage to the vehicles in an impact, the change in
             velocity is routinely in the vicinity of 5 m.p.h. for the struck vehicle. [Id., at 4].
                The reason for this approach in minimizing speeds is found in defense litigation. In
             the 1990s a series of full scale kinematic tests were run by companies routinely hired
             by defense firms. These kinematic studies were safety optimized to prevent any of the
             defense experts from being hurt. The defense experts then proclaimed that since they
             were not hurt, no one should be hurt in a rear impact collision with a change in velocity
             under 5 m.p.h.1 Since these experts earn their living testifying that people are not
             injured, the bias introduced by testing themselves is obvious and inappropriate.
                 Eventually, some safety optimized tests were run using prescreened volunteers.
             While these studies were still safety optimized to protect the subjects, some researcher
             bias was removed. These tests resulted in symptoms being reported at the lowest level
             tested, a change in velocity of 2.5 m.p.h.2 These tests also revealed information about
             the vehicles. None of the relevant tests resulted in damage comparable to the damage
             seen in the subject collision.
                The problem with using these studies to determine if a given person was injured was
             readily apparent to the biomechanical community. Other research was performed using
             data from the motoring public which had been involved in actual collisions. This
             research in numerous locations established that there is no identified threshold for
             injury3. [Id., at 4-5].


The cumulative effect of the above-described fundamental errors and speculative, unreliable

methodology, clearly illuminates the fact that Bonugli should not be allowed to testify on the

subject of accident reconstruction/biomechanics at trial.



                                             CONCLUSION

        WHEREFORE, based upon Federal Rule 702, Daubert and Kumho, and the above-

referenced citations, the Court is asked to determine that Defendants’ designated expert, Dr. Lisa

Gwin, is not a medical/biomechanical expert who is qualified to give testimony at the trial of this

matter and that her testimony does not comply with the necessary foundational requirements of




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Rule 702 and the tests established by the United States Supreme Court and the 10 th Circuit Court

for its presentation at the time of trial;

        FURTHER, based upon Federal Rule 702, Daubert and Kumho, and the above- referenced

citations, the Court is asked to determine that Defendants’ designated expert, Dr. Cynthia Day, is

not a radiology expert who is qualified to give testimony at the trial of this matter and that her

testimony does not comply with the necessary foundational requirements of Rule 702 and the tests

established by the United States Supreme Court and the 10 th Circuit Court for its presentation at

the time of trial; and

        FURTHER, based upon Federal Rule 702, Daubert and Kumho, and the above- referenced

citations, the Court is asked to determine that Defendants’ designated expert, Enrique Bonugli, is

not an accident reconstruction/biomechanical expert who is qualified to give testimony at the trial

of this matter and that his testimony does not comply with the necessary foundational requirements

of Rule 702 and the tests established by the United States Supreme Court and the 10 th Circuit Court

for its presentation at the time of trial.



                                                         Respectfully submitted,

                                                         THE NIX LAW FIRM

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                                     CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of August, 2018, I electronically transmitted the attached
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